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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §                   CASE NO. 4:04cr106-12
 v.                                               §
                                                  §
 BRANDON JAVON ROBINSON                           §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for modification of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. The Court has received the report of the United States

 Magistrate Judge pursuant to its order. As Defendant has waived his right to object, the Court is of

 the opinion that the findings and conclusions of the Magistrate Judge are correct. Therefore, the

 Court hereby adopts the findings and conclusions of the Magistrate Judge as the findings and

 conclusions of the Court. It is, therefore,

        ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion of the Court.

        It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

        It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a period of nine (9) months.

              .    SIGNED this the 18th day of January, 2008.




                                                            _______________________________
                                                            RICHARD A. SCHELL
                                                            UNITED STATES DISTRICT JUDGE
